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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA


                                       :
Kevin Shackles                         :       Civil Action No. 5:21-cv-01587
                                       :
               Plaintiff               :
                                       :
       v.                              :
                                       :
Empire Beauty School, Inc.             :
                                       :
               Defendant               :
                                       :

                                              ORDER

       AND NOW, this ________ day of ________________________, 2021, upon

consideration of the parties’ Confidentiality Agreement, in particular the representations made by

the parties therein relating to the nature of the personal, proprietary, and/or confidential

information at issue in this matter, and the Court finding that:

       (a)     Courts in the Third Circuit must balance the private and public interests in

disclosure, including, but not limited to, whether: (1) such disclosure will violate any privacy

interests; (2) the information is being sought for a legitimate or improper purpose; (3) disclosure

will cause a party embarrassment; (4) confidentiality is being sought over information important

to public health or safety; (5) the sharing of information among the litigants will promote

fairness and efficiency; (6) a party benefitting from the Order is a public entity or official; and

(7) the case involves issues important to the public. See Pansy v. Borough of Stroudsburg, 23

F.3d 772, 787-91 (3d Cir. 1994);

       (b)     For the following reasons, the balancing of the relevant private and public

interests weighs in favor of approving and adopting as an Order of this Court the parties’

Confidentiality Agreement;
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       (c)     First, certain of the documents and information the parties have requested or

anticipate requesting from each other in discovery contain information that, if disclosed, likely

would violate the privacy interests of at least the following people and/or entities: (1) Defendant,

whose confidential and proprietary documents and information appear in discoverable

documents; (2) Plaintiff, whose personal and confidential information (including personnel and

performance records) and financial information (including earnings and tax information) appear

in discoverable documents; and (3) non-party students or employees of Defendant (current and

former), whose confidential information (including personnel files) may be the subject of

discovery;

       (d)     Second, this is a single-plaintiff employment discrimination case, and the

personal, confidential, and proprietary information belonging to Defendant, Plaintiff, and the

non-party (current or former) students and employees of Defendant, is collateral to the core

issues in this case, such that there is no legitimate need for this information to be made public in

light of the claims and/or defenses of the parties;

       (e)     Third, the disclosure of at least some of the personal, confidential and proprietary

information sought to be protected by the Confidentiality Agreement (such as performance and

other personnel information of Plaintiff and records relating to certain non-party (current or

former) employees and students of Defendant, which may be discoverable in this case) would

cause the parties and certain non-parties embarrassment;

       (f)     No confidentiality protection is being sought by any governmental entity or

official, the underlying litigation is not of importance to the public at large but merely a private

dispute between a former employee and employer, and confidentiality is not being sought over

information that is important to public health or safety;




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       (g)     Moreover, the Confidentiality Agreement sought in this case does not undermine

fairness or efficiency in this case as evidenced by the consent of all parties to the request for

entry of this Order and the Confidentiality Agreement;

       (h)     The Court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice; and

       (i)     This Court will, therefore, approve and adopt the Confidentiality Agreement.

       It is hereby ORDERED that the parties’ Confidentiality Agreement is APPROVED and

ADOPTED as an Order of this Court.

                                                       BY THE COURT:

                                                       ______________________________
                                                       The Honorable Edward G. Smith




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                             CONFIDENTIALITY AGREEMENT

       WHEREAS, Plaintiff Kevin Shackles (“Plaintiff”) and Defendant Empire Beauty School,

Inc. (“Defendant”) (collectively, Plaintiff and Defendant, the “Parties” and individually a

“Party”) have agreed that certain documents and information subject to discovery may contain

personal, confidential and/or proprietary information, which should be afforded protection from

public disclosure;

       WHEREAS, certain of the documents and information the parties have requested or

anticipate requesting from each other in discovery contain information that, if disclosed, likely

would violate the privacy interests of at least the following people and/or entities: (1) Defendant,

whose confidential and proprietary documents and information appear in discoverable

documents; (2) Plaintiff, whose personal and confidential information (including performance

and other personnel information) and financial information (including earnings and tax

information) appear in discoverable documents; and (3) non-party current or former students and

employees of Defendant, whose confidential information (including personnel files) may be the

subject of discovery;

       WHEREAS, this is a single-plaintiff employment discrimination case, and the personal,

confidential, and proprietary information belonging to Defendant, Plaintiff, and the non-party

(current or former) students and employees of Defendant, is collateral to the core issues in this

case, such that there is no legitimate need for this information to be made public in light of the

claims and/or defenses of the parties;

       WHEREAS, the disclosure of at least some of the personal, confidential and proprietary

information sought to be protected by the Confidentiality Agreement (such as financial and

earnings information of Plaintiff and the records relating to certain non-party (current or former)
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students and employees of Defendant, which may be discoverable in this case) would cause the

parties and certain non-parties embarrassment;

       WHEREAS, no confidentiality protection is being sought by any governmental entity or

official, the underlying litigation is not of importance to the public at large but merely a private

dispute between a former employee and employer, and confidentiality is not being sought over

information that is important to public health or safety;

       WHEREAS, the Parties agree that disclosure of such documents and information will

work a clearly defined and serious injury to the disclosing party, in accordance with the standard

set forth in Pansy v. Borough of Stroudsburg, 23 F.3d 772 (3d Cir. 1994), unless disclosed in

accordance with the terms of this Confidentiality Agreement;

       NOW, THEREFORE, the Parties stipulate as follows:

       1.      “Confidential Information” means any document, information, or testimony that

contains:

       (a)     confidential and proprietary documents and information of Defendant;

       (b)     any Party’s financial information (including Plaintiff’s W-2 forms and tax returns

and documents reflecting financial information of Defendant that are not publicly available);

       (c)     Plaintiff’s private medical information; or

       (d)     records and information relating to current or former students and employees of

Defendant who are non-parties to this case.

       The categories of records listed in Paragraph 1(a)-1(d) above shall be deemed

Confidential Information whether they are produced directly from third parties or whether they

are included in the confidential records produced by the Parties. Notwithstanding the foregoing,

Confidential Information does not include information that is readily available to the public or is




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rightfully acquired by any Party or counsel without restriction as to use or obligation as to

confidentiality. Such Confidential Information shall be used solely for the purpose of conducting

this litigation and not for any business or other purpose whatsoever, and shall be subject to the

terms of this Confidentiality Agreement (“Confidentiality Agreement”).

         2.    If a Party objects at any time to the designation of a document, testimony or

information as “Confidential” (which right is hereby reserved), the Objecting Party shall notify

the Designating Party of its objection in writing. The Parties shall then endeavor to resolve any

such disputes informally. If the dispute cannot be resolved informally, either Party may apply to

the Court by way of motion for a ruling as to the appropriateness of the designation in light of

the terms of this Confidentiality Agreement, and based upon prevailing law. Until the Court

enters an order affecting the designation of the document, testimony or information, it shall be

treated as “Confidential” in accordance with this Confidentiality Agreement.

         3.    The Confidential Information shall not be disclosed, directly or indirectly, in

whole or in part, in words or substance, except during the course of these proceedings and only

to and among the following persons:

         (a)   The attorneys and their clients and any respective agents of those clients,

including employees under their direct supervision working on this litigation on behalf of any

Party;

         (b)   Any person employed by a Party, or retained by any attorney described in

subparagraph (a) above, to assist as an expert in preparation of this litigation for trial;

         (c)   Any employee of a Party who is required by such Party to work on this litigation,

but only in connection with such work;




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       (d)     Any person whose testimony is or may be taken in this litigation, except that such

person may only see and retain copies of the Confidential Information during or in preparation

for their testimony or in discussions with persons described in subparagraphs 3(a) through (c)

above regarding possible testimony, and may not thereafter retain any Confidential Information;

and

       (e)     Court officials involved in this litigation (including court reporters, operators of

video recording equipment at depositions, and any Special Master appointed by the Court).

       4.      Before disclosure of the Confidential Information to any person as permitted by

the preceding paragraph 3 (other than the Court and its employees), such person shall read a

copy of this Confidentiality Agreement and sign an Individual Confidentiality Agreement in the

form attached hereto as Exhibit A. Counsel obtaining such Individual Confidentiality

Agreement shall retain the executed original Individual Confidentiality Agreement and shall

forward a copy of the executed Individual Confidentiality Agreement to opposing counsel

promptly following its execution. The disclosure to the producing Party of the identity of

persons to whom Confidential Information has been disseminated and a copy of the Individual

Confidentiality Agreement for such person shall not constitute a waiver of any privilege which

may be available to the receiving Party. No Confidential Information shall be disclosed to any

person who refuses to sign an Individual Confidentiality Agreement. If any person who has

signed an Individual Confidentiality Agreement refuses to comply therewith, or to knowledge of

counsel, fails to adhere to the terms thereof, counsel shall make no further disclosure to such

person, and shall immediately notify counsel for the producing Party.

       5.      The receiving Party shall not duplicate any Confidential Information except

working copies and for filing with the Court.




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         6.      Any person who makes any disclosure of the Confidential Information permitted

under this Confidentiality Agreement shall advise each person to whom such disclosure is made

of the terms of this Confidentiality Agreement. This Confidentiality Agreement shall be binding

upon the Parties, their officers, agents, independent contractors, servants, employees, and upon

those persons in active concert or participation with them who receive actual notice of this

Confidentiality Agreement, to the same effect and with the same authority as an injunctive order

of this Court.

         7.      At any deposition or portion thereof in which Confidential Information will be

inquired into and/or disclosed, the producing Party may require the deposition witness and/or

reporter to read and sign an Individual Confidentiality Agreement if he or she has not already

done so. Persons in attendance at depositions, other than those listed in paragraph 3 hereof, shall

be limited at the request of the producing Party during the discussion of or disclosure of

Confidential Information. The producing Party shall have twenty (20) days after the deposition

transcript has been made available to designate those portions of the deposition testimony or

exhibits which they deem to contain or reveal Confidential Information and a notice of such

designation must be promptly sent to opposing counsel and the court reporter. Confidential

Information shall not lose its confidential status by its use in other depositions, discovery, or

court proceedings, and if filed with the Court, shall be filed under seal as set forth in Paragraph 8

below.

         8.      Any Confidential Information to be filed with the Court shall be made by Motion

to file under Seal pursuant to the Local and Federal Rules, and the Confidential Information shall

be filed by placing an original and one copy of the document in separate plain envelopes clearly

endorsed with the title of this civil action and case number, marked “SEALED DOCUMENT,”




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with an original and copy of the Motion to Seal and “ORDER RE: SEALED FILING” as set

forth in Local Rule 5.1.5, or as amended.

         9.     In lieu of filing any Confidential Information, a party may properly redact the

document to remove any personal identifying information so as to avoid disclosure or harm to

the producing party. If redaction cannot be made in a manner to avoid disclosure of Confidential

Information, a Motion to file under Seal shall be made consistent with Paragraph 9 herein.

         10.    Any Confidential Information which is submitted or presented to, or filed with the

Court as a sealed document shall remain sealed pursuant to Local Rule 5.1.5, or as amended.

         11.    Subject to the applicable rules of evidence, the Confidential Information may be

offered in evidence at trial. No later than ten (10) days prior to the pretrial conference in this

case, any Party may move the Court for an order that evidence be received in camera or under

other conditions to prevent unnecessary disclosure. The particular Confidential Information, or

portions thereof, for which protection is sought, shall be specified in the motion. The Court will

determine in its pretrial order whether the proffered evidence should continue to be treated as

Confidential Information and, if so, what protection, if any, may be afforded to such information

at the trial.

         12.    The provisions of this Confidentiality Agreement shall not terminate at the

conclusion of this litigation but shall survive the termination of the litigation. Within sixty (60)

days after final conclusion of all aspects of this litigation, the receiving Party shall use their best

efforts to return to the producing party or destroy the Confidential Information and all copies of

same (other than exhibits of record or any portions of an attorney file which are required to be

maintained as per the State of Pennsylvania Ethics Commission). The receiving Party shall

make certification of compliance herewith and, if not destroyed, the Confidential Information




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shall be delivered to the producing Party’s counsel not more than sixty (60) days after final

termination of this litigation.

        13.     Nothing in this Confidentiality Agreement shall be construed in any way to

control the use, dissemination, publication or disposition by the producing Party of the

Confidential Information. Nothing in this Confidentiality Agreement shall be construed as a

waiver of any privilege and/or work product that may be applicable to any documents or

information. However, any publication by the producing Party of Confidential Information shall

be a waiver of the confidential nature of that information placed in the public court record.

        14.     Non-disclosure and Claw back agreement.

        (a)     The inadvertent disclosure or production by any of the Parties to this Agreement

of attorney-client privileged communications, attorney work product or any other documents

subject to work-product immunity, the attorney-client privilege, or other legal privilege

protecting information from discovery (“Privileged Information”) shall not constitute a waiver of

the immunity or privilege.

        (b)     If a Party inadvertently discloses or produces Privileged Information, the

disclosing Party shall promptly upon discovery of such inadvertent disclosure or production,

inform the receiving Party in writing, and the receiving Party shall immediately destroy such

Privileged Information and all copies thereof (as well as all notes or other work product

reflecting the contents of such Privileged Information) or return such Privileged Information and

all copies thereof (as well as all notes or other work product reflecting the contents of such

Privileged Information) to the Party which inadvertently disclosed such Privileged Information,

and shall delete such Privileged Information from any litigation support or other database or

electronic medium.




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        (c)     No use shall be made of such Privileged Information during depositions or at trial

or for any other purpose, nor shall it be disclosed to anyone who was not given access to it prior

to the request to return or destroy it.

        (d)     To the extent such Privileged Information may have been disclosed to persons

other than authorized persons described in this Agreement, the receiving Party shall: (1)

promptly inform the disclosing Party of any disclosure to any non-authorized person and (2)

make every reasonable effort to retrieve the information promptly from such persons to avoid

further disclosure to non-authorized persons.

        (e)     If the receiving Party discovers or reasonably believes that it has received

Privileged Information, the receiving Party shall promptly (1) so advise the producing Party in

writing, (2) refrain from further review of the Privileged Information, and (3) return such

Privileged Information and all copies thereof within five (5) days of receiving a written request

from the producing Party to return such Privileged Information, unless the receiving Party

disputes the claim of privilege under Paragraph 14(f) below. No Party to this action shall

thereafter assert that such disclosure waived any privilege or immunity.

        (f)     If a receiving Party of claimed Privileged Information disputes the privileged

nature of the disclosure or production, such receiving Party shall bring the matter to the attention

of the Court within seven (7) calendar days of the receiving Party notifying the producing Party

of such a dispute.

        15.     The Parties stipulate to the entry of this Confidentiality Agreement.

        16.     This Confidentiality Agreement shall become effective immediately upon

execution by the Parties regardless of whether the Court has approved and adopted it.




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Agreed to this ____ day of August, 2021

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                                       EXHIBIT A
INDIVIDUAL AGREEMENT TO RESPECT CONFIDENTIAL INFORMATION

         I have read and understand the Confidentiality Agreement in the case of Kevin

Shackles v. Empire Beauty School, Inc., Civil Action No. 5:21-cv-01587, pending in the

United States District Court for the Eastern District of Pennsylvania. A copy of the

Confidentiality Agreement has been delivered to me with my copy of this Individual

Agreement. I agree to be bound by all the terms of this Individual Agreement. I agree to

be bound by all the terms of the Confidentiality Agreement and hereby agree not to use or

disclose the Confidential Information to be disclosed to me except for purposes of this

litigation as required by the Confidentiality Agreement. I further agree and attest to my

understanding that a breach of this Individual Agreement may be directly actionable, at

law and equity, and may constitute a violation of the Confidentiality Agreement, and that

if I fail to abide by the terms of the Confidentiality Agreement, or if I disclose or make

use of any Confidential Information acquired during this litigation, I may be subject to

civil sanctions, including sanctions by way of contempt of court, imposed by the Court

for such failure.


Dated:
                                                      Signature

                                                      Name (Printed)

                                                      Street Address

                                                      City             State         Zip

                                                      Employer
